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 1   KRISTA HART
     Attorney at Law
 2   State Bar #199650
     428 J Street, Suite 357
 3   Sacramento, California 95814
     Telephone: (916) 731-8811                          OK/HAV
 4
     Attorney for Defendant
 5
 6
 7                       IN THE UNITED STATES DISTRICT COURT
 8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
11   UNITED STATES OF AMERICA,           )   No. Cr.S. 04-104 DFL
                                         )
12             Plaintiff,                )   STIPULATION AND [PROPOSED] ORDER
                                         )   RESETTING THE HEARING DATE
13        v.                             )
                                         )
14                                       )
     MARK ERCKERT,                       )   Date:     December 14, 2006
15                                       )   Time:     10:00 a.m.
               Defendants.               )   Judge:    Hon. David F. Levi
16                                       )
     _______________________________
17
18        The defendant Mark Erckert, by and through counsel Krista Hart,
19   along with the plaintiff United States (government), by and through
20   counsel Assistant U.S. Attorney Phil Ferrari, hereby stipulate and
21   agree the trial confirmation hearing currently set for December 14,
22   2006, should be reset for January 4, 2007 at 10:00 a.m.          The parties
23   also stipulate and agree that the jury trial currently set to begin on
24   January 8, 2007, be reset to begin on January 22, 2007 at 8:30 a.m.
25        It is further stipulated and agreed between the parties that the
26   period of time from January 8, 2007, to January 22, 2007, should be
27   excluded in computing the time within which the trial of the above
28   criminal prosecution must commence for purposes of the Speedy Trial
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 1   Act.     All parties stipulate and agree that this is an appropriate
 2   exclusion of time within the meaning of Title 18, United States Code,
 3   sections 3161(h)(8)(B)(iv) (Local Code T4).
 4   December 11, 2006                          /s/ Krista Hart
                                               Attorney for Mark Erckert
 5
 6
 7   December 11, 2006                         McGREGOR SCOTT
                                               United States Attorney
 8
 9
                                                /s/ Phil Ferrari
10                                             Assistant U.S. Attorney
                                               (Signed by Krista Hart, per e-mail)
11
12
                                           O R D E R
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14
15   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
16
17   DATED: December 11, 2006
                                               /s/ David F. Levi
18                                             The Honorable DAVID F. LEVI
                                               United States District Court Judge
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